Case 8:03-cr-00447-JSM-TGW Document 169 Filed 06/07/05 Page 1 of 6 PageID 617
       Case 8:03-cr-00447-JSM-TGW Document 169 Filed 06/07/05 Page 2 of 6 PageID 618


A 0 245B (Rev 12/03) Sheet 2 - lrnprisontnent
Defendant:          ANTHONY CONTEGIACOMO                                                         Judement - P a g e 2 of 6
Case No.:           8:03-cr317-T-3OXfSS



                 T h e defe~idantis hereby committed to the custody of the United States Bureau of Prisons to bc
imprisoned f o r a total t e r m of SEVENTY (70) hIOhTHS as to Count O n e of t h e Indictnicnt.




-
X The c o u n makes the following recommendations to the Bureau of Prisons: The defendant shall be placed in a correctional
institution located in Florida. The defendanf shall be participate in the 500 hour intensive drug rrearment program while
incarcerated.


     The defendant is remanded to the custody of the United Stares Marshal.
-The defendant shall surrender to the United States Marshal for this district.
         -at -a.rn./p.m. on -.
         -as notified by the United States Marshal
-The defendant shall surrender for service of sentence at the insritution designated by the Bureau of Prisons.
         - before 2 p.m. on -.
         - as notified by the United States hlarshal.
         - as notified by the Probation or Pretrial Services Office.




          I have executed this judgment as follows:




          Defendant delivered on                                                 to                                          at

                                                                       , with a certified copy of this judgment.


                                                                                       United States Marshal



                                                                    Depury Marshal
        Case 8:03-cr-00447-JSM-TGW Document 169 Filed 06/07/05 Page 3 of 6 PageID 619
A 0 24SB (Rcv. 11/03) Sheet 3 - Supervised Release

Defendant:         ANTI-IONY CONTEGIACOMO                                                                   Juclgment - Page 3of 6
Case No.:          8:03-~-447-T-30MSS
                                                            SUPERVISED RELEASE

       Upon release from irnprisonmcnt, the defentl;mt shall be on supervised re1e;ise for a term of FIVE (5) YEARS as t o
Count O w of the Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendcant shall not commit another federal. state, or local crime.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonmcnt and at least two periodic drug tests
thereafter. as determined by the court.

         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check. if applicable).

         The defendant shall nor possess a firearm. destructive device, or any other dangerous weapon. (Check, if applicable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works or
         is a student, as directed by the probation officer. (Check, if applicable.)

         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
          h e Schedule of Payments sheet of this jud,oment.

          The defendrant shall comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                             STANDARD COSDITIONS OF SUPERVISION
          the defendant shall nor leave the judicial district \vithout the permission of the court or probation oflicer.
          the defendant shall report to the probation officer and shall submit a truthful and complek witten report \vithin thc first five days of each
          month;
          the defendant shall answer truthfully a11 inquiries by the probation officer and follow the instructions of the probation officer;
          the defendant shall support his or her dependents and meet other family responsibilities:
          the defendant shall work regularly at a lawful occupation. unless cxcused by the probation officer for schooling. training, or other
          acceptable reasons;
          the defendant shall notif) the probation officer at least ten days prior to any change in residence or employment:
          the defendant shall reliain from escessive use of alcohol and shall not purchase, possess, usc, distribute, or administer an) controlled
          substance or any paraphernalia rclatcd to any controlled substances. csccpt a5 prescribed by a physician:
          the defendant shall not frequent places where controlled substances arc illegally sold. used, distributed, or atlministercd:

          the defendant shall not associate \vith any persons cngagrd in criminal activity and shall not associate n i t h an) person convic~sdof a
          felony. unless granted permission lo do so by the prohalion oflicer:
          the defendant shall permit a probation officer to visit him or her at an) time at home or clscwhcrc and shall pcrrnit confiscalion of any
          contraband ohservcd in plain view of the probation oflicer:
          the defendant \hall notit)   the probat~onofficer n i t h t n \c\ent>-t\\ohours ol'heing arrestctl or questtoned b! ;I la\\ enforccmrnt otliccr.
          the dsfendmt h t l l not enter into an\ ;~greernsntto act ;I.   .In   int'mnzr or a special agent of it Ian entbrccmcnt agcnc! wirhout the
          permission 01- the court:
          21sdircs~cdh\ the prohation officer. IIW Jcfcndant shall I I O I I ~ ) ~hirdpcrrtlcb ourtsk. that ma! he occahtond b! thc Jckndanr's crllnin;tl record
          o r personal hi\tor! or characteristics and shall pcrmlt thc prohurlon olticcr lo makc such ~lo~iliccttior~s         and to confirm thc dc(i.ndanr'.
          ccmpli;incc t \ ~ r hsuch notiticatioti rcqutrcmmt.
       Case 8:03-cr-00447-JSM-TGW Document 169 Filed 06/07/05 Page 4 of 6 PageID 620

A 0 245B (Rev. 12103) S h m 3C - Supervised Release

Defendant:           ANTHONY CONTEGIACOMO                                                     Judgment - Page 4 of 6
Case No.:            8:03-cr-447-T-30MSS
                                             SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall also comply with the following addirional conditions of supervised release:


-
X         The defendant shall participate, as directed by the Probation Officer. in a program (outpatient andlor inpatient) for treatment
          of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use or
          abuse. Further, thc defendant shall be required to contribute to the costs of services for such treatment not lo exceed an
          amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.


-
X         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The defendant shall refrain
          from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of placement
          on probation and at least two periodic drug tests thereafter as directed by the probation officer.
        Case 8:03-cr-00447-JSM-TGW Document 169 Filed 06/07/05 Page 5 of 6 PageID 621
 A 0 24513 (Rev 12/03) Sheer 5 - Criminal hlonetary Pclnlr~cs

 Defendant:         ANTHONY CONTEGIACOMO                                                     Judgmenr - Page 5 of 6
 Case No.:          5:03-cr-t.17-T-301\1SS

                                           CRIhlINAL hlOhiETARY PENALTIES

          The defendant must pay the lotal criminal monetary penalties under the scl~eduleof payments on Sheet 6.
                            Assessrnen t                         -
                                                                 Fine                       Total Restitution

          -
          Totals:           $100.00                              Waived                     N/A

 -        The detern~inationof restiiution is deferred until -.           An Amended Jlldgmerzr ill a Crimirlal Case ( A 0 2432) will
          be entered afier such determination.
 -        The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approxin~atelyproportioned payment, unless
          specified otherwise in the priority order or ercentage payment colun~nbelow. However, pursuant to 18 U.S.C.5
          3664(i). all nonfederal victims must be paifbefore ihe United States.
                                                                                                               Priority Order o r
                                                 *Total                      Amount of                         Percentage of
                                               A~nountof Loss             Rest it ution Ordered                Pavment




                            Totals:           -
                                              S                           S

 -        Restitution amount ordered pursuant to plea agreement S
 -        The defendant shall ay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
                              l
          before the fiffeenth ay after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.4 3612g).

 -        The court determined that the defendant does not have the ability to pay interest 'and it is ordered that:
         -        the interest requirement is waived for the - fine       - restitution.
         -        the interest requirement for the - fine - restitution is modilicd as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 10A, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
      Case 8:03-cr-00447-JSM-TGW Document 169 Filed 06/07/05 Page 6 of 6 PageID 622
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:          ANTHONY CONTEGlACOhlO                                                           Judzmenr - Page 6of 6
Case No.:           8:03-cr-rt17-T-3OMSS




Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.        -
          X Lump sum payment of S 100.00 due immediately. balance due
                               -not later than                      , Or

                               -in accordance - C. - D. - E or - F below: or
B.        -         Payment to begin immediately (may be combined with -C , -D, or -F below): or
C.        -         Payment in equal                 (e.g.. weekly. n~onthly,quarterly) installments of $             over a
                    period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                    date of this judgment; or
D.        -         Payment in equal                (e.g., weekly, monthly. quarterly) installn~entsof S              over a
                    period of
                                 . (e.g., months or years) to commence                    (e.g. 30 or 60 days) after release
                    from imprisonment to a term of supervision; or
E.        -         Payment during the tenn of supervised release will commence within                         (e.g., 30 or
                    60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                    the defendant's ability to pay at that time. or
F.        -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judoment imposes a period of im                                    payment of criminal
          penalties is clue during irn risonment. All crimina? monetary penalties. except                                      made through the
                                            F
mOneta% ureau of Prisons' Inmate inancial Responsibility Program. are made to the
Federal
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-         The defendant shall pay the cost of prosecution.
-         The defendant shall pay the following court cost(s):
X
-         The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States in~n~ediately
                                                                            and voluntaril any and all assets and property,
                                                                                                             i:
or portions thereof, subject to forfeiture, which are in the possession or control of t e defendant or the defendant's
nominees.



Payments shall be applied in rhr follo\ving ordcr: c l asszssIneIlt. ( 2 ) resr~ru~ion      principal. (3) restirution intel.esl. ( 4 ) t'inc pr~ncipal.
( 5 ) cornmunil! resrirurion. ( 6 ) fine inrercst ( 7 ) pcn;tlrirs. and (8)cosrs, including cosr o f prosecution and courr cos~s
